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 7   Attorney for JENNIFER ANN FULCHER

 8
                                UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11
     UNITED STATES OF AMERICA,                             Case No. 3:14-cr-00063-LRH-WGC
12
                   Plaintiff,
13                                                         STIPULATION TO CONTINUE
            v.                                             INITIAL APPEARANCE RE
14                                                         REVOCATION HEARING
     JENNIFER ANN FULCHER,
15                                                         (FIRST REQUEST)
                   Defendant.
16
17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
19   VALLADARES, Federal Public Defender and CHRISTOPHER P. FREY, Assistant Federal

20   Public Defender, counsel for JENNIFER ANN FULCHER and NICHOLAS A. TRUTANICH,
21   United States Attorney, and RICHARD CASPER, Assistant United States Attorney, counsel
22
     for the UNITED STATES OF AMERICA, I/A re Revocation of Supervised Release hearing
23
     set for July 14, 2020, at 3:00 PM, be vacated and continued to July 22, 2020, at 3:00 PM.
24
25          ///

26          ///
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 1
 2          This Stipulation is entered into for the following reasons:
 3
            Ms. Fulcher is scheduled to appear before this court for a Revocation Hearing on July
 4
     14, 2020, at 3:00 PM. Undersigned counsel request that this matter be continued to July 22,
 5
 6   2020, at 3:00 PM, to allow the parties to continue negotiations toward a resolution of this matter.

 7          1.      Failure to grant this extension of time would deprive the defendant continuity
 8   of counsel and the effective assistance of counsel.
 9          2.      Ms. Fulcher is currently on bond.
10          3.      The parties agree to the continuance.
11          4.      This is the first request for a continuance.
12          DATED this 8th day of July, 2020.
13
         RENE L. VALLADARES                                NICHOLAS A. TRUTANICH
14       Federal Public Defender                           United States Attorney

15
      By /s/ Christopher P. Frey                    . By /s/ Richard Casper              .
16       CHRISTOPHER P. FREY                             RICHARD CASPER
         Assistant Federal Public Defender              Assistant United States Attorney
17       Counsel for                                    Counsel for the Government
         JENNIFER ANN FULCHER
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 1                                              ORDER
 2          Based on the Stipulation of counsel, and good cause appearing,
 3          IT IS THEREFORE ORDERED that the Initial Appearance re Revocation
 4
     Hearing currently set for July 14, 2020, at 3:00 PM, be vacated and continued to July 22,
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     2020, at 3:00 PM.
 6
            DATED this 9th day of July, 2020.
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                                                 _________________________________
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                                                 U.S. MAGISTRATE JUDGE
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